                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )                 No. 3:18-CR-167
                                                                    Judges Crytzer/Poplin
                                                  )
        v.                                        )
                                                  )
 CHRISTINA ERIN MYERS,                            )
                                                  )
                Defendant.                        )

                                   ORDER OF FORFEITURE

        On October 16, 2018, an Indictment [Doc. 3] was filed charging the Defendant,

 CHRISTINA ERIN MYERS, with wire fraud in violation of 18 U.S.C. § 1343 (Count One), and

 money laundering in violation of 18 U.S.C. § 1956 (Count Six) in addition to other counts.

        In the forfeiture allegations of the Indictment [Id.], the United States sought forfeiture of

 the interest of the Defendant, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), in

 any property, real or personal, constituting or traceable to the proceeds of any violation of 18

 U.S.C. § 1343 and pursuant to 18 U.S.C. § 982(a)(1) any property, real or personal, involved in

 or traceable to any violation of 18 U.S.C. § 1956.

        On November 18, 2019, a Plea Agreement [Doc. 23] was filed, wherein Defendant

 agreed to plead guilty to Counts One and Six of the Indictment, and pursuant to 18 U.S.C.

 §§ 981(a)(1)(C), and 28 U.S.C. § 2461, agreed to forfeit her interest in any and all assets and

 property, real or personal, constituting or traceable to the proceeds of any violation of 18 U.S.C.

 § 1343, and pursuant to 18 U.S.C. § 982(a)(1) of any and all assets and property, real or personal,




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 involved in the Defendant’s violation of 18 U.S.C. § 1956. The Defendant agreed to a personal

 money judgment in favor of the United States in the amount of $518,000.1

        On November 25, 2019, this Court accepted the guilty plea of the Defendant and by

 virtue of the guilty plea and conviction, and pursuant 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and

 28 U.S.C. § 2461, and Federal Rule of Criminal Procedure 32.2(b), the United States is entitled

 to a money judgment as referenced below. Further, the United States has established the

 requisite nexus between the money judgment and the violations charged in Counts One and Six

 of the Indictment.

        Federal Rule of Criminal Procedure 32.2(c)(1) provides that “no ancillary proceeding is

 required to the extent that the forfeiture consists of a money judgment.” Because no ancillary

 proceeding is required, it is appropriate to enter an order of forfeiture at this time, which will

 become final as to the Defendant at the time of sentencing.

        Accordingly, it is hereby ORDERED, ADJUDGED, and DECREED that:

        1.      Based upon the conviction of Defendant for offenses in violation of 18 U.S.C.

 §§ 1343 and 1956, and pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and 28 U.S.C. § 2461,

 and Federal Rule of Criminal Procedure 32.2(b), the United States is entitled to:

                Money Judgment

                A personal money judgment in favor of the United States and against
                the Defendant, CHRISTINA ERIN MYERS, in the amount of
                $518,000.00 in U.S. currency, which represents the proceeds the
                Defendant personally obtained that constitute or are traceable to the
                offenses in violation of 18 U.S.C. §§ 1343 and 1956.

        1
           The Indictment and Plea Agreement also contained forfeiture of cash in the amount of
 $7,242.57 and $24,500.00 which were seized from SouthEast Bank on July 27, 2018. Administrative
 Forfeiture of the cash amounts were completed on October 18, 2018 and are not included herein. An
 Amended Notice of Administrative Forfeiture (Doc. 13) was filed with this Court on December 28, 2018.
 The United States will not seek a Final Order of Forfeiture regarding these items.
                                                   2




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        2.       In accordance with Federal Rules of Criminal Procedure 32.2(b)(4)(A) and

 (b)(4)(B) this Order of Forfeiture will become final as to the Defendant at the time of sentencing

 and will be made part of the sentence and included in the Judgment.

        3.       The United States may, at any time, move pursuant to Federal Rule of Criminal

 Procedure 32.2(e) to amend this Order of Forfeiture to substitute property having a value not to

 exceed $518,000.00 to satisfy the money judgment in whole or in part.

        4.       The Court shall retain jurisdiction to enforce this Order, and to amend it as

 necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

        5.       The Clerk of this Court shall provide a certified copy of this Order to the United

 States Attorney’s Office.

        6.       Doc. 41, Motion for Entry of Order of Forfeiture, is MOOT.

                                               ENTER:



                                               KATHERINE A. CRYTZER
                                               United States District Judge
 Submitted by:

 FRANCIS M. HAMILTON III
 Acting United States Attorney


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